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                                                                                                        14   FACEBOOK, INC. and INSTAGRAM, LLC

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                                                                                                                                                UNITED STATES DISTRICT COURT
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                                                                                                                                         NORTHERN DISTRICT OF CALIFORNIA
                                                                                                        17
                                                                                                             FACEBOOK, INC. and INSTAGRAM, LLC,             Case No. 5:19-cv-07071-SVK
                                                                                                        18
                                                                                                                                  Plaintiffs,               DECLARATION OF DAVID J. STEELE IN
                                                                                                        19                                                  SUPPORT OF PLAINTIFFS’ SUPPLEMENTAL
                                                                                                                    v.                                      BRIEF IN SUPPORT OF PRELIMINARY
                                                                                                        20                                                  INJUNCTION
                                                                                                             ONLINENIC INC.; DOMAIN ID SHIELD
                                                                                                        21   SERVICE CO., LIMITED; and XIAMEN               Hon. Susan van Keulen
                                                                                                             35.COM INTERNET TECHNOLOGY CO.,
                                                                                                        22   LTD.,

                                                                                                        23                        Defendants.

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                                                                                                                                                                             DECLARATION OF DAVID J. STEELE
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                                                                                                         1           I, David J. Steele, declare as follows:

                                                                                                         2           1.      I am a partner at Tucker Ellis LLP, attorneys of record for Plaintiffs in this action. I make

                                                                                                         3   this declaration based on my personal knowledge and, if called as a witness, would testify competently to

                                                                                                         4   each of the following facts.

                                                                                                         5           2.      It is not necessary for a domain name holder to transfer a domain name to another registrar

                                                                                                         6   in order to sell it. Domain name brokers and auction sites routinely sell domain names registered with

                                                                                                         7   multiple registrars; the seller merely transfers the domain names to the buyer at the current registrar.

                                                                                                         8   Defendants could more easily sell their portfolio of domain names without transferring any domain names

                                                                                                         9   to another registrar.
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                                                                                                        10           3.      On July 25, 2021, I reviewed the cost to transfer .com domain names to Ename, and

                                                                                                        11   converted the posted amount into U.S. dollars. The cost to transfer each .com domain name was

                                                                                                        12   approximately $10.00.

                                                                                                        13           4.      At my direction, an analysis of the valuation of twenty-seven domain names from
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                                                                                                        14   Defendants’ Domain Names was conducted using two online domain name valuation tools. The first

                                                                                                        15   valuation tools was available at Estibot.com and the second at GoDaddy.com. The twenty-seven domain

                                                                                                        16   names reviewed were: 1on.com, abilitygroup.com, asfh.com, avmovie.com, bridgescore.com, cansa.com,

                                                                                                        17   cfni.com, cortas.com, cvpk.com, feiz.com, fih.net, frive.com, gozzo.com, iaaa.com, jewgle.com,

                                                                                                        18   kcdt.com, madx.com, mtrd.com, ngms.com, nyha.com, nytc.com, omvn.com, rpjs.com, sgex.com,

                                                                                                        19   thcr.com, tklm.com, wdis.com.

                                                                                                        20           5.      The valuation tool available at Estibot.com valued the selected twenty-seven domain at

                                                                                                        21   $128,170. Screen captures of the valuation of each domain name are attached to this Declaration as

                                                                                                        22   Exhibit 1.

                                                                                                        23           6.      The valuation tool available at GoDaddy.com valued the selected twenty-seven domain at

                                                                                                        24   to $164,256. Screen captures of the valuation of each domain name are attached to this Declaration as

                                                                                                        25   Exhibit 2.

                                                                                                        26           7.      Through continued investigation conducted on July 24 and July 25, 2021, my colleagues

                                                                                                        27   and I discovered numerous additional domain names that appear to be owned by Defendants but not listed

                                                                                                        28   by Defendants on their Second Amended Statement of Assets.

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                                                                                                                                                                                     DECLARATION OF DAVID J. STEELE
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                                                                                                         1          8.        Some of these domain names were also transferred to Ename on or about July 19 or

                                                                                                         2   July 20, 2021.

                                                                                                         3          9.        The domain name carrie.club was disclosed by Defendants in discovery as one of the

                                                                                                         4   domain names owned by Defendants.

                                                                                                         5          10.       The data from the whois record for this domain name, captured on July 19, 2021, shows

                                                                                                         6   the domain name registered with OnlineNIC, and the listed owner was “Network Service” – a known alias

                                                                                                         7   used by Defendants. The whois record also shows the status “pendingTransfer” indicating that the domain

                                                                                                         8   name was, as of July 19, 2021, being transferred away from OnlineNIC. A copy of the whois record is

                                                                                                         9   attached to this Declaration as Exhibit 3.
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                                                                                                        10          11.       The transfer of carrie.club was canceled, and the domain name remains at OnlineNIC.

                                                                                                        11          12.       This domain name was not listed on Defendants’ Amended Statement of Assets.

                                                                                                        12          13.       The domain name dns-diy.net was not disclosed by Defendants in discovery; however, the

                                                                                                        13   data from a historic whois record shows the domain name registered with OnlineNIC, listing one of
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                                                                                                        14   OnlineNIC’s business addresses (3027 Teagarden St., San Leandro, CA), and the associated email

                                                                                                        15   addresses sumxmut@gmail.com, an email address associated with Defendants. A copy of the historic

                                                                                                        16   whois record is attached to this Declaration as Exhibit 4.

                                                                                                        17          14.       The current whois record shows that the domain name was transferred away from

                                                                                                        18   OnlineNIC to Ename on or about July 20, 2021. A copy of the current whois record is attached to this

                                                                                                        19   Declaration as Exhibit 5

                                                                                                        20          15.       This domain name was not listed on Defendants’ Amended Statement of Assets.

                                                                                                        21          16.       The domain names domain-reminder.com and domainwhois-verification.com were not

                                                                                                        22   disclosed by Defendants in discovery while idc-internet.com was disclosed by Defendants in discovery.

                                                                                                        23   The data from historic whois records shows these domain names were registered with OnlineNIC, and the

                                                                                                        24   associated email addresses sumxmut@gmail.com, an email address associated with Defendants. Copy of

                                                                                                        25   the historic whois records are attached to this Declaration as Exhibit 6.

                                                                                                        26          17.       The current whois records show that each of the domain names was transferred away from

                                                                                                        27   OnlineNIC to Ename on or about July 20, 2021. A copy of the current whois record is attached to this

                                                                                                        28   Declaration as Exhibit 7.

                                                                                                                                                                  3
                                                                                                                                                                                     DECLARATION OF DAVID J. STEELE
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                                                                                                         1          18.     These domain names were not listed on Defendants’ Amended Statement of Assets.

                                                                                                         2          19.     Additionally, at least thirty-nine other domain names disclosed by Defendants in discovery

                                                                                                         3   as owned by Defendants were transferred from OnlineNIC to Ename on or about July 20, 2021. A copy

                                                                                                         4   of the current whois record is attached to this Declaration as Exhibit 8.

                                                                                                         5          20.     These domain names were not listed on Defendants’ Amended Statement of Assets.

                                                                                                         6

                                                                                                         7          I declare under penalty of perjury under the laws of the United States of America that the foregoing
                                                                                                         8   is true and correct and that this declaration was executed on July 27, 2021 in Fullerton, California.
                                                                                                         9                                                                  /s/ David J. Steele
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                                                                                                                                                                                     DECLARATION OF DAVID J. STEELE
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